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UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEW JERSEY

JOSE CLEMENTE, on behalf of Case No.
himself and all others similarly
situated,

Plaintiff,

COMPLAINT - CLASS ACTION
V.

CRACKER BARREL OLD
COUNTRY STORE, INC., JURY TRIAL DEMANDED

Defendant.

 

 

CLASS ACTION COMPLAINT

1. Plaintiff Jose Clemente (“Plaintiff”) by and through his
attorneys, alleges the following based upon personal knowledge as to his
own actions and upon information and belief and his attorneys’ investigation
as to all other facts.

2. Plaintiff seeks injunctive relief, attorneys’ fees and costs
pursuant to the Americans With Disabilities Act (“ADA”), 42 U.S.C. §
12181, et seqg., on behalf of a class of mobility impaired/wheelchair-bound
persons who have patronized or would like to patronize the restaurants
identified in paragraphs 26 and 27 below.

3. Additionally, Plaintiff seeks injunctive relief, attorneys’ fees
and costs, and minimum statutory damages on behalf of the Class of
mobility impaired/wheelchair bound persons pursuant to the anti-
discrimination state statute of New Jersey, New Jersey Law Against

Discrimination, N.J.S.A. 10:5-4 (“LAD”).
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STATUTORY BACKGROUND

4. On July 26, 1990, Congress enacted the ADA establishing
important civil rights for individuals with disabilities, including the right to
full and equal enjoyment of the goods, services, facilities and privileges of,
and access to, places of public accommodation.

5. Congress explicitly stated that among the purposes of the ADA
were:

(a) to provide a clear and comprehensive national mandate
for the elimination of discrimination against individuals with
disabilities;

(b) to provide clear, strong, consistent, enforceable standards
addressing discrimination against individuals with disabilities; and

(c) to invoke the sweep of congressional authority, including
the power to enforce the Fourteenth Amendment and to regulate
commerce, in order to address the major areas of discrimination faced
day-to-day by people with disabilities.

42 U.S.C. § 12101(b).

6. Pursuant to 42 U.S.C. §§ 12182 and 28 C.F.R. 36.201(a), no
place of public accommodation shall discriminate against an individual, on
the basis of such individual’s disability, with regard to the full and equal
enjoyment of the goods, services, facilities, privileges, advantages or
accommodations at that place of public accommodation.

7. The effective date of Title III of the ADA was January 26, 1992
(or January 26, 1993, if a defendant has ten (10) or fewer employees and
gross receipts of $500,000.00 or less). See 42 U.S.C. § 12181 and 28 C.F.R.
36.508(a).
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8. Despite an extended period of time in which to become
compliant with the ADA, and despite the extensive publicity the ADA has
received since 1990, defendant Cracker Barrel Old Country Store, Inc.
(collectively “Cracker Barrel” or “Defendant”) continues to discriminate
against people who are disabled, in ways that block them from equal access
to and use of their restaurants.

PARTIES AND STANDING

9. Plaintiff is a New Jersey resident, is sui juris, and qualifies as
an individual with disabilities as defined by the ADA. Plaintiff is a
paraplegic, has permanently lost the use of his legs, and requires a
wheelchair to move about. Plaintiff has visited/patronized Cracker Barrel
restaurants in New Jersey and has experienced discrimination at such
restaurants as more fully set forth below. Additionally, via information
disseminated by his attorneys, Plaintiff has obtained actual notice of Title III
ADA violations at additional Cracker Barrel restaurants he has not yet
visited, as set forth below. Plaintiff intends to return to Cracker Barrel
restaurants, for the dual purpose of availing himself of the goods and
services offered to the public at such restaurants, and to ensure that those
restaurants cease evading their responsibilities under federal and state law.

10. Plaintiff has been, and continues to be, adversely affected by
Defendant’s violations of the ADA and the law of the State of New Jersey.
Plaintiff has suffered direct and indirect injury as a result of the Defendant’s
actions and/or omissions as described herein.

11. Plaintiff has reasonable grounds to believe that Defendant will
continue to subject him, or other disabled individuals, to discrimination in
violation of the ADA and the laws of the State of New Jersey, given that

Defendant has failed to bring existing restaurants into compliance for over
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fifty years and has allowed new restaurants to be constructed or converted
that were similarly out of compliance.

12. Defendant Cracker Barrel is a Tennessee corporation principal
executive offices located at 305 Hartman Dr., Lebanon, TN 37087-2519.
Cracker Barrel is an American chain of combined restaurant and gift stores
with a Southern country theme. Cracker Barrel operates 637 locations in 42
states. Cracker Barrel is publicly traded on the Nasdaq under the symbol
“CBRL” and has a market capitalization of approximately $3.25 billion.

13. Defendant Cracker Barrel maintains a registered agent for
service of process at c/o CT Corporation System, 800 S. Gay Street, Suite
2021, Knoxville, Tennessee 37929-9710.

14. Cracker Barrel is responsible for complying with the
obligations of the ADA for each of the locations it owns and/or operates and
is responsible for complying with the laws of the State of New Jersey at the
restaurants it owns and/or operates in New Jersey.

JURISDICTION AND VENUE

15. The action primarily arises from violations of Title III of the
Americans With Disabilities Act, 42 U.S.C. § 12181 et seq., as more fully
set forth herein. The Court has original jurisdiction pursuant to 28 U.S.C. §
1331 and 28 U.S.C. § 1343. Additionally, the Court has jurisdiction with
respect to the claims arising from the anti-discrimination statute of the State
of New Jersey, pursuant to 28 U.S.C. 1367 (supplemental jurisdiction).

16. Venue lies in this district as Defendant is found and/or does
substantial business in this judicial district and a substantial part of the
property that is the subject of the action is situated in this judicial district.
See 28 U.S.C. § 1391(b).
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CLASS ACTION ALLEGATIONS

 

17. Plaintiff seeks to maintain the action as a class action under
Rule 23(b)(2) of the Federal Rules of Civil Procedure. A Rule 23(b)(2) class
is appropriate because the primary and predominate relief sought is
injunctive. Alternatively, to the extent a 23(b)(2) class would raise
insurmountable due process concerns, Plaintiff seeks certification under
Rule 23(b)(3). The class consists of all mobility impaired/wheelchair-bound
persons located in New Jersey and Pennsylvania who have patronized
Cracker Barrel restaurants identified herein, who have been, who were, or
have actual knowledge that they would have been, prior to the filing of the
Complaint, denied the full and equal enjoyment of the goods, services,
programs, facilities, privileges, advantages, or accommodations of any of the
restaurants identified herein (the “Class’).

18. The Class is believed to consist of thousands of members. The
members of the Class are so numerous that joinder of all members is
impracticable.

19. Common questions of law and fact exist as to all members of
the Class, and predominate over any questions affecting solely individual
members of the Class. Among the questions of law and fact common to the
Class are:

(a) Whether Defendant’s restaurants are “public
accommodations” under the ADA;

(b) Whether Defendant’s restaurants deny the full and equal
enjoyment of its goods, services, programs, facilities, privileges,
advantages, or accommodations, and full and equal access to its

facilities to individuals with disabilities in violation of ADA;
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(c) | Whether the Defendant provides goods, services,
programs, facilities, privileges, advantages, or accommodations to
individuals with disabilities in an integrated setting;

(d) Whether the Defendant’s restaurants have made
reasonable modifications in policies, practices, and procedures when
such modifications are necessary to afford such goods, services,
programs, facilities, privileges, advantages, or accommodations to
individuals with disabilities;

(e) Whether Defendant failed to take steps to ensure that
individuals with disabilities are not excluded, denied services,
segregated, or otherwise treated differently than other individuals
because of the absence of auxiliary aids and services;

(f) | Whether Defendant has failed to remove architectural
and communication barriers in existing restaurants, where such
removal is readily achievable and technically feasible, or has failed to
make such goods, services, programs, facilities, privileges,
advantages, or accommodations available through alternative
methods, if removal of the barriers is not readily achievable or
technically feasible;

(g) Whether violations of the ADA also constitute per se
violations of the New Jersey anti-discrimination statute. N.J.S.A. 10:
5-4;

(h) Whether Defendant has violated and/or continues to
violate the state anti-discrimination statute identified above by
denying equal access to disabled persons at places of public

accommodation;
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(i) | Whether the state anti-discrimination statue identified
above provides for a private right of action;

(j) | Whether the state anti-discrimination statue identified
above provides for injunctive relief; and

(k) | Whether the state anti-discrimination statute identified
above provides for minimum statutory damage.

20. Plaintiffs claims are typical of the claims of the members of
the Class, as Plaintiff and members of the Class sustained and continue to
sustain injuries arising out of Defendant’s conduct or omissions in violation
of federal and state law as complained of herein. Plaintiff, like all other
members of the Class, claims that Defendant has violated the ADA by
failing to make its restaurants accessible to individuals with disabilities and
by excluding Plaintiff, and other similarly situated persons, from full and
equal enjoyment of the goods, services, programs, facilities, privileges,
advantages, or accommodations of Defendant’s restaurants, and subjecting
Plaintiff to discrimination by failing to provide its facilities and other goods,
services, programs, facilities, privileges, advantages or accommodations to
the Plaintiff, as well as other similarly situated persons.

21. Plaintiff will fairly and adequately protect the interests of the
members of the Class, and has retained counsel competent and experienced
in class action litigation. Plaintiff has no interests antagonistic to, or in
conflict with, those of the Class.

22. The action may be maintained as a class action pursuant to Rule
23(b)(2), because Defendant violated the ADA, by maintaining barriers to
accessibility and discriminating on the basis of disabilities, in a manner

harmful to all members of the Class. Requiring Defendant to comply with
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the ADA is appropriate, and the primary and predominating relief sought is
injunctive relief.

23. Aclass action is superior to other available methods for the fair
and efficient adjudication of the controversy, since joinder of all members is
impracticable. Furthermore, because the damages suffered by the individual
Class members may be relatively small, the expense and burden of
individual litigation make it impossible for members of the Class
individually to redress the wrongs done to them.

24. There will be no difficulty in the management of this action as a
class action. Moreover, judicial economy will be served by the maintenance
of this lawsuit as a class action, in that it is likely to avoid the burden which
would be otherwise placed upon the judicial system by the filing of
thousands of similar suits by disabled people across New Jersey, Delaware
and/or Pennsylvania. There are no obstacles to effective and efficient
management of the lawsuit as a class action.

RESTAURANTS OWNED/OPERATED BY DEFENDANT

IN VIOLATION OF THE ADA

25. Plaintiff has retained Brodsky & Smith, LLC to prosecute the
claims alleged herein, who in turn, retained professional building experts to
investigate, identify and document Defendant’s violations of the ADA.
Those investigations, which are still ongoing, have to date, identified the
Cracker Barrel locations listed below as being in serious violation of the
ADA. Further, the results have been disseminated to Plaintiff, providing
him with actual notice of Title III ADA violations at the restaurants listed
below.

26. Plaintiff has personally encountered both discrimination and

barriers to equal access at the Cracker Barrel restaurant located at 427 N.
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Broadway, Pennsville, New Jersey 08070. Specifically, on October 28,
2015, Plaintiff patronized this restaurant location and purchased lunch.
However, he encountered barriers to equal access, and found the store to be
in violation of Title III of the ADA as a result of failing to have an
accessible parking lot, restroom, and sales counter. Clemente intends to re-
visit this restaurant again in the future for the dual purpose of patronizing
and ensuring compliance with the ADA.

27. Additionally, Plaintiff received the results of the investigations
provided by the building expert’s investigators, which results provided him
with actual notice of Title II] ADA violations at the following additional
Cracker Barrel restaurants located near his residence, and the residences of
his family and friends. He is being deterred from visiting/patronizing these
restaurants as a result of his actual knowledge of the discrimination.
However, Plaintiff intends to visit these restaurants in the future for the dual
purpose of patronizing and ensuring their compliance with the ADA. Those
additional restaurants to which Plaintiff has actual notice of Title II ADA
violations include:

1. 427 N. Broadway, Pennsville, NJ
712 Howard Blvd., Mt. Arlington, NJ
14 Frontage Road, Clinton, NJ
825 Marketplace Blvd., Trenton, NJ
110 Hancock Lane, Mount Holly, NJ
1240 Rt. 73, Mt. Laurel, NJ
3611 Horizon Blvd., Bensalem, PA
2095 Gallagher Road, Plymouth Meeting, PA
7720 Main Street, Fagelsville, PA
21 Industrial Drive, Hamburg, PA

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11. 395 Cumberland Pkwy., Mechanicsburg, PA

12. 3 E. Garland Drive, Carlisle, PA

13. 2525 Brindle Drive, Harrisburg, PA

14. 260 Lycoming Mall Road, Muney, PA

15. 236 Pauline Drive, York, PA

16. 228 Mall Blvd., Bloomsburg, PA

17. 2320 Wilkes Barre Township Mar, Wilkes Barre, PA

18. 1215 E. Lancaster Avenue, Downingtown, PA

COUNT I
VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

28. Plaintiff repeats and re-alleges each and every allegation
contained in the foregoing paragraphs as if fully set forth herein. This Count
is brought on behalf of the Class against Cracker Barrel.

29. Pursuant to 42 U.S.C. § 12181(7) and 28 C.F.R. § 36.104,
Defendant owns and/or operates places of public accommodation, Cracker
Barrel restaurants, which offer goods and products to the general public. All
of Defendant’s restaurants are public accommodations and are covered by
the ADA.

30. The ADA defines illegal discrimination to include, in pertinent
part:

(a) Failure to remove architectural barriers . . . that are
structural in nature, in existing facilities ... where such removal is
readily achievable;

(b) With respect to a facility or part thereof that is altered .. .
in a manner that affects or could affect the usability of the facility or
part thereof, a failure to make alterations in such a manner that, to the

maximum extent feasible, the altered portions of the facility are

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readily accessible to and usable by individuals with disabilities,

including individuals who use wheelchairs. Where the entity is

undertaking an alteration that affect or could affect usability of or
access to an area of the facility containing a primary function, the
entity shall also make the alterations in such a manner that, to the
maximum extent feasible, the path or travel to the altered area. . .[is]
readily accessible to and usable by individuals with disabilities where
such alterations to the path or travel .. . are not disproportionate to the
overall alterations in terms of cost and scope (as determined under
criteria established by the Attorney General); and

(c) Failure to design and construct facilities for first
occupancy later than 30 months after July 26, 1990 that are readily
accessible to and usable by individuals with disabilities.

31. Defendant has been and continues to be required to remove
architectural barriers to the physically disabled where such removal is
readily achievable for its places of public accommodation that have existed
prior to January 26, 1992, 28 C.F.R. § 36.304(a); in the alternative, if there
has been an alteration to any of Defendant’s places of public accommodation
since January 26, 1992, then Defendant is required to ensure to the
maximum extent feasible that the altered portions of the facility are readily
accessible to and usable by individuals with disabilities, including
individuals who use wheelchairs, 28 C.F.R. § 36.402; and, finally, if any of
Defendant’s facilities is one which was designed and constructed for first
occupancy subsequent to January 26, 1993, as defined in 28 C.F.R. § 36.401,
then such facility must be readily accessible to and usable by individuals

with disabilities as defined by the ADA.

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32. Appendix A to Part 36-Standards for Accessible Design (28
C.F.R. pt. 36, App. A) sets out guidelines for accessibility for buildings and
facilities. These guidelines are to be applied during design, construction and
alteration of such buildings and facilities to the extent required by
regulations issued by Federal agencies, including the Department of Justice,
under the ADA.

33. Defendant has discriminated against Plaintiff, and others who
are similarly situated, by denying access to full and equal enjoyment of the
goods, services, facilities, privileges, advantages and/or accommodations of
its places of public accommodation or commercial facilities in violation of
42 US.C. § 12181 et seg. and 28 C.F.R. § 36.302 et seq., as described
below.

34. Defendant has discriminated and is discriminating against
Plaintiff and others similarly situated, in violation of the ADA, by failing to,
inter alia, have accessible facilities, as described below, by January 26,
1992. The following list describes, by way of example, certain, but not all
of, Defendant’s commonplace violations of the ADA, with respect to its
restaurants:

(a) There is not the required number of van accessible
spaces. This is in violation of ADAAG — Section 4.1.2(5)(b);
(b) There is no accessible parking signage. This is in

violation of ADAAG -— Section 4.6.4;

(c) There is no van accessible parking signage. This is in

violation of ADAAG — Section 4.6.4;

(d) The van accessible parking spaces do not have accessible

aisles. This is in violation of ADAAG — Section 4.6.3;

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(e) The accessible parking spaces do not provide accessible
aisles. This violates ADAAG — Section 4.6.3;

(f) The sales counter is not accessible. This is in violation of
ADAAG - Section 7.2;

(g) The toilet paper dispenser is located on the side wall
within 17” from the front edge of the toilet seat. This is in violation of
ADAAG - Sections 4.22.4, 4.23.4, 4.16.6, and 4.17.3;

(h) The restroom door force is 7 lbs. and is not accessible.
This is in violation of ADAAG — Section 4.13.11(2)(b);

(i) The toilet stall door hardware is not compliant. This is in
violation of ADAAG — Section 4.13.9;

G) The dressing/fitting room clothing hooks are located 54”
from the floor. This is in violation of ADAAG — Section 4.35.5;

(k) The restroom signage is not compliant. This is in
violation of ADAAG - Section 4.1.2;

(1) The pipes under the lavatory are not covered. This is in
violation of ADAAG — Section 4.19.4;

(m) The restroom door force is 7 Ibs. and is not accessible.
This is in violation of ADAAG — Section 4.13.11(2)(b);

(n) The toilet seat cover dispenser in the restroom is located
56” above the floor. This is in violation of ADAAG — Section 4.23.7;

(0) The lavatory hardware is not compliant. This is in
violation of ADAAG — Section 4.19.5;

(p) The paper towel dispenser in the restroom is located 57”
above the floor. This is in violation of ADAAG — Section 4.23.7;

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(q) The toilet paper dispenser is not located on the side wall
within 7"- 9" from the front edge of the toilet seat. This is in violation
of ADAAG -— Sections 4.22.4, 4.23.4, 4.16.6, and 4.17.3;

(r) The restroom door closer is not adjusted to allow the
bathroom door to remain open for at least three (3) seconds. This is in
violation of ADAAG — Section 4.13.10;

(s) The curb ramps do not have a detectable warning surface
that extends the full width and depth of the curb ramp. This is in
violation of ADAAG — Section 4.7.7;

35. The discriminatory violations described above are not an
exclusive or exhaustive list of the Defendant’s ADA violations, and, upon
information and belief, there are other miscellaneous violations of the ADA
and regulations promulgated pursuant thereto in Defendant’s facilities.

36. The correction of these violations of the ADA is readily
achievable, or Defendant is obligated to have its places of public
accommodation readily accessible as defined by the ADA.

37. To date, barriers and other violations of the ADA still exist and
have not been remedied or altered in such a way as to effectuate compliance
with the provisions of the ADA. The effect of Defendant’s failure to comply
with the ADA is that Defendant has discriminated against disabled persons
by denying them the full and equal enjoyment of the goods, services,
programs, facilities, privileges, advantages, or accommodations of the
Cracker Barrel restaurants.

38. As aresult of the failure to remedy existing barriers to
accessibility, Plaintiff and others similarly situated have been denied access
to, and the benefits of the goods, services, programs, facilities, and activities

of Defendant’s restaurants and have otherwise been discriminated against

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and have suffered damages caused by Defendant’s ADA violations. Unless
Cracker Barrel restaurants are brought into compliance with the ADA, said
persons will continue to suffer injury in the future.

39. Plaintiff and others similarly situated either regularly enter
and/or use Defendant’s restaurants, would like to enter and/or use
Defendant’s restaurants, or may enter and/or use Defendant’s restaurants in
the future. Plaintiff is ready, willing and able to patronize Defendant’s
restaurants when the discriminatory policies and barriers are removed or
cured.

40. In addition, the discriminatory features of Defendant’s
restaurants are generally known to the individual plaintiff, and others
similarly situated, who are discouraged from patronizing Cracker Barrel
restaurants. Many either avoid the restaurants because they are aware of the
discriminatory barriers they will encounter there, or attend the restaurants
with knowledge that their access to those facilities will be limited by virtue
of Defendant’s persistent and pervasive violations of the ADA.

41. The individual plaintiff, and others similarly situated were
injured by the discrimination encountered at Defendant’s restaurants and/or
continue to be injured by their inability to patronize Defendant’s restaurants.
They have also been injured by the stigma of Defendant’s discrimination.

42. Plaintiffs injuries are traceable to Defendant’s discriminatory
conduct alleged herein and will be redressed by the relief requested.
Plaintiff and others similarly situated have been injured and will continue to
be injured by Defendant’s failure to comply with the ADA and its continued

acts of discrimination.

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43. Plaintiff has retained the undersigned counsel. Plaintiff is
entitled to recover its attorneys’ fees, costs and expenses from Defendant
pursuant to 42 U.S.C. § 12205 and 28 C.F.R. § 36.505.

44. Notice to Defendant is not required as a result of the
Defendant’s failure to cure the violations by January 26, 1992. All other
conditions precedent have been met by Plaintiff or waived by Defendant.

45. Plaintiff is without adequate remedy at law and is suffering
irreparable harm.

48. Pursuant to 42 U.S.C. § 12188, this Court is provided authority
to grant Plaintiff injunctive relief, including an Order to alter Cracker Barrel
restaurants to make those facilities readily accessible to Plaintiff and all
other persons with disabilities as defined by the ADA or by closing the
facilities, either temporarily or permanently, until such time as Defendant
cure their violations of the ADA.

COUNT II
NEW JERSEY LAW AGAINST DISCRIMINATION

46. Plaintiff realleges and incorporates by reference the remainder
of the allegations set forth in the Complaint as if fully set forth herein.

47. Defendant operates business establishments within the
jurisdiction of the State of New Jersey and, as such, is obligated to comply
with the provisions of the New Jersey Law Against Discrimination, § 10:5-4,
et seq. (“LAD”).

48. The conduct alleged herein violates the LAD § 10:5-4, et seq.

49. The LAD guarantees, inter alia, that all persons shall have the
opportunity to obtain all the accommodations, advantages, facilities, and

privileges without discrimination because of disability, subject only to

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conditions and limitations applicable alike to all persons. This opportunity
is recognized as and declared to be a civil right.

50. Defendant has violated the LAD by, inter alia, denying Plaintiff
and members of the proposed Class, as persons with disabilities, full and
equal accommodations, advantages, facilities, privileges, or services offered
by Defendant. Defendant has also violated the LAD by violating the ADA,
as set forth above.

51. Defendant has violated the LAD, by inter alia, failing to
operate their services on a nondiscriminatory basis and failing to ensure that
persons with disabilities have nondiscriminatory access to its restaurants.

52. In doing the acts and/or omissions alleged herein, Defendant
wrongfully and unlawfully denied access to its restaurants and facilities to
individuals with disabilities and acted with knowledge of the effect its
conduct was having on physically disabled persons.

53. The LAD is accorded broad construction in regard to its
prohibition of discrimination on the basis of disability and the paramount
purpose of the statute is to secure to handicapped individuals full and equal
access to society.

54. Further, in determining a violation of LAD, New Jersey Courts
look to the standards established in Federal ADA Cases. As such, Defendant
have violated the LAD as a result of its violation of the ADA.

55. Pursuant to the remedies, procedures, and rights set forth in the
LAD. Plaintiff prays for judgment as set forth below.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendant and

requests the following relief:

a. That this Court assume jurisdiction.

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jury.

b That this Court certify the Class identified above.

C. That this Court certify Plaintiff as the representative of
the Class.

d. That this Court declare Defendant to be in violation of
Title I of the Americans with Disabilities Act, 42 U.S.C. § 12181,
and the New Jersey Disabled Persons Act, N.J.S.A., § 10:5-4, et seq.

e. That this Court issue an injunction ordering Defendant to
comply with the statutes set forth herein.

f. That this Court award minimum statutory damages to
Plaintiff and members of the proposed class for Defendant’s
violations of their civil rights under state law.

g. That this Court award reasonable attorneys’ fees and
costs pursuant to federal and New Jersey law.

h. That this Court award such additional or alternative relief
as may be just, proper and equitable.

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury on all issues which can be heard by a

Dated: December 24, 2015 BRODSKY & SMITH, LLC

By:
Evan /Sm ith, Esquire

Marc L. Ackerman, Esquire

1040 Kings Highway North, Ste. 601
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Attorneys for Plaintiff

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VERIFICATION

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I, A “ote. C\ @ wre wi © | hereby certify that | am the Plaintiff in this civil action
and certify under penalty of perjury under the laws of the State of Ned Sessa that the

Complaint is true and correct to the best of my knowledge, information and belief.

Date:_12) 24/9 yes ( LE —
g)

 
